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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

   In re                                              §
                                                      §   Civ. Act. No. 3:21-cv-0881-x
   HIGHLAND CAPITAL MANAGEMENT,                       §
   L.P.                                               §   Consolidated with:
                                                      §   3:21-cv-0880-x
             Reorganized Debtor/Plaintiff,            §   3:21-cv-1010-x
                                                      §   3:21-cv-1378-x
   v.                                                 §   3:21-cv-1379-x
                                                      §   3:21-cv-3160-x
   NEXPOINT ASSET MANAGEMENT,                         §   3:21-cv-3162-x
   L.P. (f/k/a HIGHLAND CAPITAL                       §   3:21-cv-3179-x
   MANAGEMENT FUND ADVISORS,                          §   3:21-cv-3207-x
   L.P.), et al.,                                         3:22-cv-0789-x

             Defendants.

             NOTICE OF APPEAL TO UNITED STATES COURT OF APPEALS
                            FOR THE FIFTH CIRCUIT

           NexPoint Advisors L.P. (“NPA”), defendant in Civ. Act. No. 3:22-cv-0881-x

  (consolidated with the above-captioned matters) and the adversary proceeding styled

  Highland Capital Management, L.P. vs. NexPoint Advisors, L.P., et al., Adversary Proceeding

  No. 21-03005-sgj, appeals to the United States Court of Appeals for the Fifth Circuit from the

  following orders of the District Court for the Northern District of Texas: (1) the AMENDED

  FINAL JUDGMENT AGAINST NEXPOINT ADVISORS L.P. entered in this consolidated

  case as Dkt. 145 on August 3, 2023, and (2) Electronic Orders Dkt. 129 and Dkt. 131 (clarified

  by Electronic Order Dkt. 135, entered on July 6, 2023) which denied as moot the Motion for

  Ruling on Pending Objections (addressing, inter alia, an Objection to Order Denying Motions

  to Extend Expert Disclosure and Discovery Deadlines).

           The parties to the judgment appealed from and the names and addresses of their

  respective attorneys are as follows:


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  Dated:

  September 1, 2023

                               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on September 1, 2023, a true and correct copy
  of the foregoing document was served via the Court’s CM/ECF system on all parties registered
  to receive electronic notices in this case.

                                       /s/ Deborah Deitsch-Perez
                                       Deborah Deitsch-Perez




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